           Case 1:21-cr-00713-LGS Document 13 Filed 12/08/21 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------X
                                                              :
 UNITED STATES OF AMERICA                                     :
                                                              :
                                                              :     21 Cr. 713 (LGS)
                            -against-                         :
                                                              :   SCHEDULING ORDER
 NORMAN GRAY,                                                 :
                                              Defendant, :
 ------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        WHEREAS the parties filed a letter dated December 6, 2021, stipulating to (i) dates for

production of Rule 16 discovery, including discovery not currently in the Government’s

possession; (ii) three proposed dates for a pretrial conference and (iii) an application to exclude

time. (Dkt. No. 12) It is hereby

        ORDERED that the stipulated dates are approved in part. The Government shall

produce any Rule 16 discovery by December 31, 2021, and produce any additional discovery on

a rolling basis. It is further

        ORDERED that the parties shall file joint status letters on January 31, 2022, and

February 28, 2022, updating the Court on the status of any outstanding discovery. It is further

        ORDERED that Defendant’s motion(s), if any, shall be filed by March 25, 2022. The

Government's response, if any, shall be filed by April 15, 2022. Defendants' reply, if any, shall

be filed by April 25, 2022. It is further

        ORDERED that the parties shall appear for a status conference on May 2, 2022, at

10:30a.m. It is further

        ORDERED the parties may renew their application to exclude time through the May 2,

2022, conference date.
         Case 1:21-cr-00713-LGS Document 13 Filed 12/08/21 Page 2 of 2




       The parties are warned that any discussions regarding the possible disposition of this

matter will not stay the aforementioned schedule.


Dated: December 7, 2021
       New York, New York
